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               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE
In re:                                                 Chapter 11
ASHINC Corporation, et al.,                            Case No. 12-11564 (CSS)
                          Debtors.                     (Jointly Administered)

CATHERINE E. YOUNGMAN, LITIGATION                      Adv. Pro. No. 13-50530 (CSS)
TRUSTEE FOR ASHINC CORPORATION, ET AL., AS
SUCCESSOR TO THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS OF ASHINC
CORPORATION, AND ITS AFFILIATED DEBTORS,               Related Docket Nos.: 932, 962

                          Plaintiff,

BDCM OPPORTUNITY FUND II, LP, BLACK
DIAMOND CLO 2005-1 LTD., and SPECTRUM
INVESTMENT PARTNERS, L.P.,
                          Intervenors,
                   v.

YUCAIPA AMERICAN ALLIANCE FUND I, L.P., and
YUCAIPA AMERICAN ALLIANCE (PARALLEL)
FUND I, L.P.,
                          Defendants.

CATHERINE E. YOUNGMAN, LITIGATION                      Adv. Pro. No. 14-50971 (CSS)
TRUSTEE FOR ASHINC CORPORATION, ET AL., AS
SUCCESSOR TO BDCM OPPORTUNITY FUND II, LP,
BLACK DIAMOND CLO 2005-1 LTD., SPECTRUM
INVESTMENT PARTNERS, L.P., BLACK DIAMOND
COMMERCIAL FINANCE, L.L.C., as co-administrative
agent, and SPECTRUM COMMERCIAL FINANCE                 Related Docket Nos.: 667, 698
LLC, as co-administrative agent,
                          Plaintiff,
                   v.
YUCAIPA AMERICAN ALLIANCE FUND I, L.P., and
YUCAIPA AMERICAN ALLIANCE (PARALLEL)
FUND I, L.P.,
                          Defendants.
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                                         SECOND ORDER

        It is hereby ordered that Defendants’ Motion In Limine To Exclude the Reports and

Testimony of Jonathan R. Macey [Adv. Pro. 13-50530, D.I. 932; Adv. Pro. 14-50971, D.I.

667], filed on February 9, 20221 and renewed at trial,2 is hereby denied.




                                                                  ____________________________
                                                                  Christopher S. Sontchi
                                                                  United States Bankruptcy Judge
Dated: May 2, 2022




1 Before trial, Defendants filed a Motion In Limine To Exclude The Reports And Testimony of Jonathan R.
Macey (the “Macey Motion”), arguing that Professor Macey’s opinions are wholly legal conclusions that
are inadmissible under Federal Rule of Evidence 702, applied to this case by Federal Rule of Bankruptcy
Procedure 9017. See Adv. Pro. 13-50530, D.I. 932; Adv. Pro. 14-50971, D.I. 667. On February 25, 2022, the
Court denied the Macey Motion without prejudice, explaining that it would consider Professor Macey’s
testimony in the context of the entire case and would thereafter decide whether Professor Macey’s
testimony is impermissible upon Defendants’ renewed motion. Adv. Pro. 13-50530, D.I. 962 at ¶ 1; Adv.
Pro. 14-50971, D.I. 698 at ¶ 1.
2 At trial, Defendants renewed the Macey Motion. The Court heard oral arguments and took the issue
under advisement. [3/4/2022 p.m. Trial Tr. at 65:25-71:13].
